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16                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
17

18   DANIEL VALENTI, Individually and On Behalf          Case No.: 3:21-cv-06118-JD
19   of All Others Similarly Situated,
                                                         DEFENDANTS’ RESPONSE TO
20                               Plaintiff,              NOTICE OF PENDENCY OF
                                                         OTHER ACTION PURSUANT TO
21             v.                                        LOCAL RULE 3-13

22   DFINITY USA RESEARCH LLC, DFINITY                   Judge: Hon. James Donato
23   FOUNDATION and DOMINIC WILLIAMS,

24                               Defendants.

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                    DEFENDANTS’ RESPONSE TO NOTICE OF PENDENCY OF OTHER ACTION
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 1            Pursuant to Civil Local Rule 3-13(c), Defendants Dfinity USA Research, LLC, Dfinity

 2   Foundation and Dominic Williams (together, “Defendants”) hereby submit this response to Lead

 3   Plaintiff Henry Rodriguez’s and named plaintiff Daniel Valenti’s (together, the “Valenti

 4   Plaintiffs’”) Notice of Pendency of Other Action Pursuant to Local Rule 3-13. (ECF No. 66).

 5            Defendants agree that Ocampo v. Dfinity USA Research LLC et al., 21-cv-03843 (San

 6   Mateo Cnty. Super. Ct.) (“the Ocampo Action”) overlaps significantly with this action, but do

 7   not request formal coordination at this time. Both the Ocampo Action and this action are

 8   brought on behalf of the same proposed classes, name the same Defendants and bring many of

 9   the same claims. In the Ocampo Action, as in this action, Plaintiff Daniel Ocampo, on behalf of

10   a purported class, brings claims under Sections 5, 12(a)(1) and 15 of the Securities Act of 1933,

11   15 U.S.C. §§ 77l(a)(1), 77o, against the named Defendants in this action. Unlike Plaintiffs in

12   this action, however, no additional claims are brought in the Ocampo Action for violations of

13   Sections 10(b), 20(a) and 20A of the Exchange Act of 1934, 15 U.S.C. §§ 78j(b), 78t-1, 78t(a).

14   Plaintiffs in both actions allege that the Dfinity Foundation’s sale of ICP tokens on or after May

15   10, 2021 was an unregistered securities offering, allegations that Defendants vigorously dispute.

16            As the Valenti Plaintiffs note, the Ocampo Action is currently in the pleading stage. The

17   state court in the Ocampo Action recently sustained Defendants’ demurrer with leave to amend. 1

18   Ocampo v. Dfinity USA Research LLC, 21-Civ-03843 (Cal. Sup. Ct. Apr. 7, 2022) (ECF No.

19   65-2). Plaintiff filed an amended complaint in the Ocampo Action on May 24, 2022, and a status

20   conference was held on June 16, 2022.

21            Defendants further agree with the Valenti Plaintiffs that, at present, there is no need for

22   formal coordination between this action and the Ocampo Action, particularly since the state court

23   has sustained Defendants’ demurrer with leave to amend. However, Defendants note that this

24   action is currently subject to a discovery stay pursuant to the Private Securities Litigation Reform

25   Act (“PSLRA”) and reserve all rights to request coordination of discovery if both actions

26   proceed beyond the Motion to Dismiss stage (or Demurrer stage, for the Ocampo Action) and

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            While the Ocampo Court did not sustain Defendants’ demurrer on statute of repose grounds, the Court
     sustained Defendants’ demurrer as to all of Plaintiff’s claims.

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 1   such discovery stay is lifted. 15 U.S.C. § 77z-1(b)(1). Defendants anticipate that discovery will

 2   overlap substantially if both cases proceed, so coordination of discovery may be appropriate to

 3   both conserve party resources and promote an efficient determination of both actions. See e.g.,

 4   Remington v. Mathson, No. CV 09-4547 NJV, 2010 WL 1233803, at *10 (N.D. Cal. Mar. 26,

 5   2010) (recognizing that discovery should be coordinated to the extent possible “to promote

 6   efficiency and effectuate the speedy resolution of both cases”); Hopkins v. Dow Corning Corp.,

 7   No. C88-4703 CEH, 1992 WL 176560, at *1 (N.D. Cal. May 27, 1992) (agreeing that

 8   coordination of the discovery phases of related cases would promote the interests of efficiency

 9   and judicial economy).

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